 Case 2:17-cv-01421-VBF-SHK Document 57 Filed 11/05/21 Page 1 of 1 Page ID #:1816



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8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
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     ____________________________________
12                                       )
     ARTHUR PETER LERMA,                 )        No. LA CV 17-01421-VBF-SHK
13                                       )
                    Petitioner,          )        FINAL JUDGMENT
14                                       )
          v.                             )
15                                       )
     CHRISTINE PFIEFER (Warden),         )
16                                       )
                    Respondent.          )
17   ___________________________________ )
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          IT IS HEREBY ADJUDGED that this action is dismissed with prejudice.
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     Dated: November 5, 2021
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22                                           ______________________________
23                                            Honorable Valerie Baker Fairbank
                                              Senior United States District Judge
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